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IN THE UNITED STATES DISTRICT COURT _
FOR THE WESTERN DISTRICT OF WASHINGTON

SERGIO SANCHEZ, ees
—_—. LOGED
Plaintiff, Civil No. RECEIVED | | MAIL

y, MAR 27 2019
EVERGRANDE REALESTATE GROUP oes FSH
Co., LTD., oe
Defendant, — 19- Cy - 4 6 9 wy ie
CENTRAL AMERICAN DOMAIN JURY TRIAL DEMANDED

AUTHORITY, LTD.,
Nominal Defendant.
COMPLAINT
Plaintiff Sergio Sanchez files this Complaint against Defendant Evergrande Realestate Group
Co., Ltd., and nominal defendant Central American Domain Authority Ltd.,and in support avers the
following:
I. NATURE OF THE CASE
I. This case is brought pursuant to 15 U.S.C. 1114(2)(D)(iv)-(v) and for declaratory relief
pursuant to 28 USC 2201 to establish that Plaintiff's registration and use of the internet
domain name <evergranderealestate.com> is not unlawful under the Anticybersquatting
Consumer Protection Act (15 U.S.C. 1125(d)(‘ACPA”) or otherwise under the Lanham
Act (1s U.S.C. 1051, et seq.); to prevent the transfer of the Domain Name to Defendant,
which was ordered on March 19, 2019, after the defendant filed seriatim proceedings |
against the Plaintiff and the Central American Domain Authority Ltd., to establish that
the UDRP process undertaken, and the resulting decision of a panel in a third

administrative proceeding was in violation of Plaintiff's contractual rights, to enjoin the _

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defendant from taking any further action against Plaintiff relating to the domain name,

and to recover fees, costs, and damages as set forth herein.

Il. JURISDICTION. AND VENUE

. This Court maintains jurisdiction over this action pursuant to 28 USC 1331 because this

cause arises under 15 USC 1114 in that Plaintiff is the joint registrant of a domain name
that has been suspended, locked, and ordered transferred under a policy provided by the

registrar Epik Inc. thereof relating to an alleged conflict with a trade or service mark

claimed by Defendant Evergrande Realestate Group Co., Ltd. (““Evergrande”). See

Dluhos v. Strasberg, 321 F3d 365 (3" Cir. 2003).

. Personal jurisdiction over Defendant Evergrande exists in the Western District of

_ Washington because Evergrande expressly and voluntarily agreed to submit to the

jurisdiction of this Court when it initiated an administrative proceeding pursuant to the
UDRP concerning the domain name. Specifically, Defendant voluntarily and expressly
agreed in its third UDRP complaint to submit to the jurisdiction of the State of
Washington in connection with any legal action in any way related to the UDRP
proceeding. Moreover, by filing a UDRP complaint, Evergrande stipulated to be bound
by the following provision: «the Complainant will submit, with respect to any
challenges that may be made by the Respondent to a decision by the Administrative
Panel to transfer the domain name that is the subject of this Complaint, to the .
jurisdiction of the courts at the location of the principal office of the concerned
registrar,” to wit, Washington State. In addition, by seeking a directive for Epik Inc., in
the State of Washington, to expressly take the domain name registered by Plaintiff and
transfer it to itself, Evergrande interfered with property and contractual rights occurring

in the State of Washington.
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4. Evergrande directed activity into this judicial district with the intent to deprive Plaintiff

of rights under a contract having a situs in this judicial district. Indeed, by seeking a
directive for Epik Inc. in the State of Washington to expressly take the domain name
registered by Plaintiff and transfer it to itself, Evergrande Real Estate Group Co. Ltd.

interfered with property rights occurring in the State of Washington.

. Venue is proper in this Court pursuant to 28 USC 1391(b)(1) and (2).

Ill. PARTIES

. Plaintiff Sergio Sanchez (“Sanchez”) is an individual who is a citizen of the Republic of

Nicaragua. Sanchez conducts business in both Nicaragua and Costa Rica. For the
purpose of this action and to obtain documents and notices in a timely manner, Sanchez
appointed an agent for receipt of documents: ABC Agents, PO Box 37635, Suite

10287, Philadelphia PA 19101.

. Defendant Evergrande Realestate Group Co. Ltd. (“Evergrande”), upon information and

belief, is a corporation located at Excellence Houhai Financial Center, No. 1126, Haide

Third Road, Nanshan District, Shenzhen City, China.

. Defendant Central American Domain Authority Ltd. ““(CADA”) is a Colorado

corporation that conducts business in Nicaragua, Costa Rica, Panama, and Honduras. It
is named as a nominal defendant as Sanchez and CADA jointly owned the domain
name and because CADA was named as the respondent in the UDRP action, although
all filings made in the UDRP action listed both Sanchez and CADA as respondents.

Iv. FACTS

. On or about August 11, 2014, Evergrande Group Co. Ltd. of Shengan-Zone China

applied for and, on August 4, 2015, received an approval on the trademark “Evergrande

Spring” in the United States.
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10. On or about September 3, 2014, Evergrande Group Co. Ltd. of Shengan-Zone, China,
applied for over fifteen (15) trademarks for the term “Evergrande Group” and “D
Evergrande Group” with the United States Patent and Trademark Office. However, on
or about May 8, 2017, Evergrande Group Co. Ltd. abandoned its trademark applications
for “Evergrande Group” and “D Evergrande Group.”

11. No trademark exists or ever existed in the United States for the term “Eyergrande,”
“Evergrande Real Estate,” “Evergrande Real Estate Group,” or “Evergrande Group” by
defendant Evergrande or anyone else.

12. On or about April 18, 2015, a non-party Fekade Maelaku of Dafilo Brokerage registered
the internet domain name <evergrandrealestate.com> and placed a monetizing link page
on its parked page.

13. On or about October 15, 2017, Plaintiff along with CADA jointly registered the domain
name <evergranderealestate.com> along with the names of several other companies
after being retained by a freelance writer interested in forming a public interest
discussion site relating to the companies for consumers and others to air grievances to
be investigated (discussion forums), a so-called “gripe site.”

14. As the content for <evergranderealestate.com> was not ready for publication, Plaintiff
parked the site with the domain registrar, Epik.com.

15. Epik.com's parked pages do not display advertisements resulting in revenue for the
domain name holder.

16. Epik.com's parked pages allow the domain name holder to display only two lines of
text.

17. For Plaintiff's parked page, he inserted “This website is not for sale. Informative

information will be published soon. All information in the public interest.”

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When publishing the website, Plaintiff listed accurate contact information.

The telephone number Plaintiff listed constitutes a valid Skype-telephone number based
in Hong Kong which worked at the time of registration and presently.

The mailing address Plaintiff listed, Apartado 599-1250, Escazu, Costa Rica, constitutes
a post office box located at the Escazu post-office in the Province of San Jose Costa
Rica. The address received ordinary postal mail at the time of registration and
continues to constitute a valid mailing address.

The Escazu mailing address, being a post office box, does not receive courier packages

- such as those from Federal Express. Rather, it constitutes a “postal address” for

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receiving mail delivered by the government postal services.
This complies with the rules set forth by the Internet Corporation for Assigned Names

and Numbers (ICANN) regarding accurate “whois” registration data for domain

names, which is incorporated into Plaintiff's contract with Epik.com .

Specifically, the rules require the registrar to collect the “3.3.1.6 The name and postal

address of the Registered Name Holder.”

Neither the ICANN rules nor the Epik.com registration agreement require the domain

name holder to provide a physical address for courier delivery of communications.

On December 6, 2017, Defendant Evergrande, through its agent, sent an email to”
Plaintiff using the email address <terroir.zhang(@gqq.com>, with the title
“evergranderealestate.com,” with the content, “Hello, may I ask if this domain name is
for sale, I am interested in collecting.”

Plaintiff did not reply to Defendant Evergrande's attempt to buy the domain name from
him.

On January 1, 2018, Defendant Evergrande's agent send an email from

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<18523397860@qq.com>, with the title “wishs from china,” with the content, “Hello!
Happy new year and have a good day.”

28. On January 28, 2018, Defendant Evergrande initiated a domain name dispute pursuant
to ICANN's UDRP, as incorporated into the Epik.com registration agreement.

29. By doing so, Defendant Evergrande caused the domain name to be “registrar locked”
and unable to be transferred by the Plaintiff.

30. Defendant Evergrande filed its UDRP case with the Asian Domain Name Dispute
Resolution Center in Beijing, China, and opted for an English language proceeding.
The ADNDRC assigned case number CN-1801135 to the proceeding.

31. Defendant Evergrande alleged that it maintained the trademark “Evergrande” and
“Evergrande Real Estate,” that the domain name <evergranderealestate.com> was
similar to its trademark and confusing to consumers, and that the domain name was

registered in bad faith.

32. Defendant Evergrande falsely alleged that Plaintiff listed a false telephone number,

breaching the agreement with Epik.com.

33. Even though Plaintiff only owned the website for a few months before Defendant
Evergrande filed its action, it averred that not having website content constituted .
“passively holding” the domain name in bad faith.

34, Plaintiff and CADA answered the UDRP Complaint and advised the panel that it
registered other domain names along with <evergranderealestate.com> for the purposes
of establishing several public interest “gripe sites,” provided evidence that the telephone
number was indeed accurate, and provided examples of the Plaintiff's other “gripe
sites.”

35. On March 8, 2018, a panelist in the case determined that Defendant Evergrande did .
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maintain trademarks and rights to the name <evergranderealestate>, that the domain
name <evergranderealestate.com> was indeed similar, but that Defendant Evergrande
failed to prove that the domain name was registered in bad faith because it appeared
plausible that the purpose of the registration was a gripe site.

36. The panelist specifically chose to focus on the <evergranderealestate.com> website and
not any other websites registered by Plaintiff despite the invitation to do so.

37. The panelist noted in CN-1801135 that the UDRP does not prevent either party from
submitting its dispute to a court of competent jurisdiction for independent resolution of
the issues “if the case involves more complicated issues that cannot be more fully
examined or investigated in the expedited proceeding under the Policy and the Rules,
the parties have all the freedom to resort to litigation, arbitration or any other dispute
resolution mechanism.” Indeed, the ICANN rules specifically state that the UDRP
proceeding would be superseded by a court proceeding and invalidated automatically if
filed within 10 days of any UDRP decision.

38. In connection with the UDRP case CN-1801135, Plaintiff incurred legal fees.

39. On March 13, 2018, the CN-1801135 decision denying Defendant Evergrande's UDRP
complaint was finalized and served on the registrar and the parties.

40. Thereafter, Plaintiff waited a reasonable amount of time, i.e., 6 months, for the
Defendant Evergrande to proceed to a court of competent jurisdiction before he
developed the website.

41. In October 2018, Plaintiff proceeded when it did not appear legal action was imminent

from Evergrande.

42. Therefore, Plaintiff logged into his account at Epik.com with the intention of changing

the name servers as to the website so that content could be placed and the parked page
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removed.

. 43. Much to Plaintiff's surprise, there appeared to be a “registrar UDRP lock” on the

domain name.

44. Plaintiff retained an attorney to contact Epik.com to determine why it did not remove
the UDRP lock.

45. Epik.com advised Plaintiff's attorney that “[I]t seems another UDRP was filed against
this domain during October. Therefore Epik was required, based on ICANN guidelines,
to lock the domain.”

46. Plaintiff's attorney notified Epik that Plaintiff did not receive service of the complaint.
Epik.com advised Plaintiff's attorney that it also did not receive service of the
complaint.

47. Plaintiff's counsel attempted to locate the decision of the UDRP Panel and it
mysteriously was not published on the website of the ADNDRC. Instead, a completely
different case decision appeared with the same docket number.

48. Oddly, the ADNDRC Beijing did not publish the case decision online until after
Plaintiff's counsel complained.

49. Plaintiff's counsel, through a dialogue with Epik.com, learned that the ADNDRC's
Hong Kong office (administered by a completely different arbitration company than that
which operates ADNDRC Beijing) notified the registrar Epik that Defendant
Evergrande initiated a second proceeding against Plaintiff and CADA at HK-18010174
approximately on October 10, 2018.

50. The ADNDRC took no action to notify Plaintiff or CADA of the proceeding.

51. After repeated inquiries and complaints to the ADNDRC, on October 29, 2018,

Plaintiff's attorney received the following email: “Domain name case - Procedure Issue
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54,

Dear Sirs, Please note that ADNDRC Hong Kong office was first made aware of the
existence of an earlier proceeding at ADNDRC on 23 October 2018, by our
communication with Ms. Karla Corea, Counsel for the Respondent Central American :
Domain Authority Ltd.. By allowing the proceedings to initiate,we understand that the
Respondent meant that the only step taken by ADNDRC Hong Kong office was to send
the Registrar the verification request in accordance with Rule 4 of Rules for Uniform
Domain Name Dispute Resolution Policy (the "Rules"), which allows the Registrar to
verify and confirm that a Lock of the domain name has been applied. Such step is
usually taken before any administrative compliance review is conducted, and far before
the Notice of Complaint is served on the Respondent. Now that we have been made
aware of the existence of an earlier decision rendered by an ADNDRC panelist, we
consider that we are in a position to discontinue the case. We ask the Complainant to
provide comment on or before 3 November 2018. If we do not hear from the
Complainant by then, we shall discontinue the administration of the case proceeding.
Best regards, ADNDRC (Hong Kong Office).”

Neither Plaintiff, CADA, nor their legal counsel received any further notice about the
case.

Based on information, Defendant Evergrande did not file a timely objection to the
decision to discontinue the case as duplicative.

Notwithstanding that Plaintiff's agreement with Epik.com and ICANN rules only
provide for a single binding proceeding, and despite the UDRP Panel making it clear
that the proper remedy would be a court proceeding, Defendant Evergrande filed yet a
third UDRP action before the ADNDRC's Hong Kong office on December 8, 2008,

resulting in the lock being retained on the domain name.
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55. The ADNDRC's Hong Kong office notified Plaintiff of the Complaint on December 12,
2019, which was docketed at Case No. HK-18010195.

56. Plaintiff and CADA objected to ADNDRC's Hong Kong office that where multiple
cases are filed, under UDRP Policy 4(f), the cases should be consolidated and that the
decision as to whether to consolidate the cases must be decided by the original UDRP

- panel. In accordance with UDRP Policy 4(f), Plaintiff also served the original UDRP
panel by providing copies of the objection and requests to consolidate to the Beijing
Office of the ADNDRC.

57. On February 12, 2019, ADNDRC's Hong Kong office made an unsigned decision -
denying the request to consolidate. The unknown person at ADNDRC wrote, “Having
considered the circumstances of these matters, including the provisions of Uniform
Domain Name Dispute Resolution Policy (the “Policy”), we wish to inform the parties
that we are not in a position to accede to the Respondent’s the first request. The Case
Manager will shortly appoint a Panelist for the second matter and the third matter.
Should you have any questions, please contact us. Thank you for your attention. Yours
faithfully, ADNDRC (Hong Kong Office) .”

58. UDRP rules issued by ICANN, incorporated into the Epik.com contract, do not provide
for any jurisdictional decision to be made by anonymous case administrators. On the
contrary, UDRP Policy 4(f) specifically provides jurisdiction to the first UDRP Panel to
make the decision.

59. During the period when Plaintiff objected to the jurisdiction over the third UDRP action
against it, in contravention of the agreement with Epik.com that adopted ICANN —
dispute rules providing for a binding “proceeding,” not multiple proceedings, Defendant

Evergrande stated that it filed the third action because it maintained new evidence.
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Defendant Evergrande's new evidence was that the Plaintiff allegedly provided a false
address simply because a courier in China that contracted Federal Express could not

deliver a letter since it was a Post Office Box, not.a physical address.

. Defendant Evergrande's new evidence also consisted of the fact that Plaintiff registered

six other domain names-- even though Plaintiff advised the first UDRP panel that
several domain names were registered on the same day for similar purposes.
Defendant Evergrande admitted in the proceeding that Plaintiff registered the other
domain names on the same date he registered <evergranderealestate.com>, but stated.
that it did not “find them” at the time of the original complaint, “Although the
Respondent already registered these domains above at the time of the original case, the
Complainant did not find them until the final complaint.” Evergrande did not advise
what steps it took to find them before filing the original proceeding.

On March 19, 2019, a new UDRP panel took jurisdiction of the case and found that the
“new evidence” allowed reconsideration of the prior decision.

The UDRP panel then disregarded the findings of the prior UDRP panel.

The new UDRP panel found no issue with the forum shopping of Defendant Evergrande
first filing in Beijing then, after having a negative decision, filing in Hong Kong.

The new UDRP panel did not discuss the second UDRP action where Defendant
Evergrande maintained an opportunity to provide a reason why it was filing a second
action, but apparently failed to do so.

The new UDRP panel disregarded Paragraph 4(f) of the UDRP policy that clearly states,
“In the event of multiple disputes between [the respondent] and the a complainant,

either [the respondent] or the complainant may petition to consolidate the disputes
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before a single Administrative Panel. This petition shall be made to the first
Administrative Panel appointed to hear a pending dispute between the parties...”

68. The new UDRP panel simply stated that since the original UDRP proceeding ©
terminated, the original Panelist became “functus officio” notwithstanding that the
UDRP rules do not provide any jurisdiction for a second proceeding at all.

69. The entire purpose of the policy is to avoid forum shopping and multiple, inconsistent
decisions. Therefore, if the single authorized proceeding terminated, and the panelist
became “functus officio,” preventing consolidation, then clearly the ADNDRC lacked
jurisdiction over the third UDRP proceeding.

70. Moreover, the UDRP policies, which are part of a contract between Epik.com and
Plaintiff, provide only for a “proceeding,” not “proceedings,” meaning that without
consolidation, there exists no jurisdiction to maintain a second case or transfer the
domain.

71. The new UDRP panel disregarded evidence about the letter sent by Defendant
Evergrande and found it not to be new evidence.

72. However, the new UDRP panel found that the other domains registered did constitute
new evidence because a privacy service was used to conceal ownership.

73. This “privacy service” theory was not raised by Defendant Evergrande, but sua sponte
by the panelist.

74. The reason Defendant Evergrande did not raise this contention was because the Plaintiff
never used a privacy service to register any domains and the information was publicly
available at the time of the original proceeding.

75. The Plaintiff used the same exact registration data as in the registration of

<evergranderealestate.com>. The privacy service —a free service offered by the domain
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registrar — was placed, erroneously and not with Plaintiff's consent, in 2019-- after the
first case concluded.

76. Moreover, Plaintiff himself advised the first panel of the registration of other domains
and the opinion and decision of the first UDRP panel specifically chose to disregard the
evidence and focus solely on <evergranderealestate.com>.

77. Indeed, Plaintiff originally wanted the panel to look at his other domain names and
websites because they included the type of “gripe site” protected, fair use, public .
interest content.

78. The new UDRP panel found that the fact that Plaintiff did not put material onto the
website constituted evidence of bad faith intent notwithstanding that the domain has
been under constant litigation since January 2018.

79. The new UDRP panel then concluded that the registration of <evergrandrealestate.com>

was in bad faith because Plaintiff also registered five (5) other domain names.

80. The new UDRP panel held that the statement on the website that it was not for sale “is a
mere 'cloak' to conceal the Respondent's cybersquatting activities” because content was
not placed on the other unrelated registered websites. But see First UDRP decision
refusing to look at the Plaintiff's content on developed sites.

81. In the first UDRP proceeding, the UDRP Panel held that Defendant Evergrande's
evidence would be struck from the record because it was not translated into Chinese.

82. However, the new UDRP panel dove into a discriminatory basis for finding bad faith

registration-- suggesting that only Chinese people, who understand the Chinese
language, have a right to create a discussion site about Chinese companies. The new
UDRP panel wrote, “By the Respondent's own admission, the Respondent does not

possess any Chinese language capability where the targets for generating public interest
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discussions are companies in China. With such a language handicap, how could it be a
possibility for the Respondent to engage in public interest advocacy work in China?
The Respondent's assertion that by registering the Disputed Domain Name was used for
non-commercial public interest advocacy purpose only is nothing but a joke.”

Finally, despite the first UDRP panel refusing to look at the content and purpose of the
other domain names registered by Plaintiff, the new UDRP panel faulted Plaintiff for
not explaining why he did not take any action on the domains. Regardless, the stare
decisis of the issue from the first UDRP panel was that the evidence of the Plaintiff's
publishing on the other websites was not relevant to <evergranderealestate.com>. .
Based on this third UDRP action, the panelist directed the transfer of the domain name
<evergranderealestate.com> to Defendant Evergrande.

Without filing this action ten (10) business days from the proceeding, the Plaintiff -
would lose the domain name he registered in good faith to place non-commercial

content on.

COUNT I - Reverse Domain Hijacking Under 15 USC 1114(2)(D)(iv)-(¥)

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Paragraphs | through 85 are hereby incorporated by reference as if fully set forth again.
Almost immediately upon registering the domain name <evergranderealestate.com>,
Defendant Evergrande attempted to trick Plaintiff into offering the domain name as
being for sale in an effort to dupe it into appearing to be a cybersquatter.

Plaintiff's domain name has been locked beyond Plaintiff's full enjoyment of the
benefits of registration thereof in consequence of the false statements made by
Defendant Evergrande under a dispute policy followed by domain registrar Epik.com
and the filing on multiple, seriatim proceedings not authorized by the UDRP or the

contract between Plaintiff and Epik.com.
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89. Plaintiff has provided Defendant Evergrande with notice of this action.

90. Plaintiff has incurred costs, including, without limitation, attorneys fees in the three
seriatim proceedings, in seeking to transfer the domain name.

91. The domain name has been ordered transferred, and would be transferred to Defendant
Evergrande but for this action.

92. All the while, Defendant Evergrande allows similar domain names such as
<evergrandrealestate.com> to exist and sell ads without interference.

93. Defendant Evergrande's actions — especially the second and third action — against
Plaintiff have been in bad faith as it knew that the Plaintiff's sole intent is to discuss the

activities of Defendant Evergrande in a public forum.

COUNT II — Declaratory Relief 28 USC 2201, Non-Violation of Lanham Act and ACPA

94. Paragraphs 1 through 93 are hereby incorporated by reference as if fully set forth again.

95. Plaintiff has not sought to profit in any way from registration and use of the domain
name <evergrandrealestate.com> and has not intended to profit in bad faith from any
trade or service mark.

96. Plaintiff specifically did not respond to Defendant Evergrande's attempts to trick it into
offering the domain for sale.

97. Based on information, Defendant Evergrande does not engage in interstate cémimiéroe in
the United States of America, where Plaintiff registered his domain name, in connection
with any goods or services using “Evergrande” as a trademark.

98. Indeed, it appears that a company Evergrande Group Co. Ltd. of China specifically and
voluntarily abandoned its trademark registration for “Evergrande Group” and “D
Evergrande Group,” retaining only “Evergrande Springs” as a trademark in the United

States.
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99. Defendant Evergrande does not employ “Evergrande” as a trade or service mark under
the Lanham Act.

100. Defendant Evergrande does not own a registration of “Evergrande” as a trade or
service mark under the Lanham Act.

101. Defendant Evergrande's claimed marks are not famous in the United States
under the Federal Antidilution Act, 15 USC 1125.

102. Plaintiff has conducted no activities outside of the United States concerning the
domain name. Rather, Plaintiff only placed an English language notice that the domain
is not for sale and that public interest information would be forthcoming.

103. Plaintiff's purchase in registering the domain name related solely to create an

English language discussion site about international manipulation by Evergrande Real

Estate Group.
104. Plaintiff's planned use of the domain name constitutes fair use.
105. Plaintiff's planned use of the domain name within the United States is protected

by the First Amendment to the United States Constitution.
106. Plaintiff reasonably believes that his registration and use of the domain name
. <evergranderealestate.com> was in good faith, for fair use, and was in a manner lawful
under the Lanham Act and the Anticybersquatting Consumer Protection Act.

107. There is an actual controversy with respect to whether Defendant Evergrande is
entitled to transfer of the Domain Name based on any rights under the ACPA or Lanham
Act.

108. In the absence of a declaration from this Court, Epik.com Inc. will transfer the
domain name to the control of Defendant Evergrande and Plaintiff will suffer

immediate and irreparable harm.
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109. Plaintiff's registration and use of the domain name does not, and is not likely to
cause confusion, or to cause mistake, or to deceive as to the affiliation, connection, or
association of Plaintiff with Defendant Evergrande, or as to the origin, sponsorship, or
approval of Plaintiff's goods, services, or commercial activities by Defendant
Evergrande because the only content that will be placed on the website will be public
interest commentary, investigations, and information that will be clearly marked as not
originating from Defendant Evergrande.

110. Plaintiff's registration and use of the domain name do not misrepresent the
nature, characteristics, qualities, or geographic origin of Defendant Evergrande's goods,
services, or commercial activities. Rather, the website will merely discuss the activities
of Defendant Evergrande and alleged wrongdoing.

COUNT III — Tortious Interference
WL Plaintiff incorporates and realleges paragraphs 1 through 110 as if fully set forth
again.

112. When registering the domain name <evergranderealestate.com>, the Plaintiff
was forced to agree to a provision to allow third parties to file a single UDRP complaint
proceeding.

113. Nowhere in the contract with Epik, or the agreement to participate in the UDRP
proceeding, did Plaintiff agree to participate or defend in a second or third UDRP case.

114. In December 2017, Defendant Frergrance attempted to dupe Plaintiff into
offering the domain name <evergranderealestate.com> for sale in an effort to seize the
domain name

115. In early 2018, Defendant Evergrande initiated proceedings under the UDRP and

provided false information about Plaintiff stating that he provided a false telephone
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number in an effort to seize the domain name <evergranderealestate.com>. At all times

material, including the present time, the same telephone number works and is available

for use.

116. In the proceeding, Evergrande accused Plaintiff of registering the domain in bad
faith.

117. . The proceedings terminated in Plaintiff's favor.

118. Three months later, Defendant Evergrande decided to set up Plaintiff by sending

a letter to its published post office box using a courier that subcontracts to Federal
Express. Federal Express cannot deliver to post office boxes in Costa Rica just as they

do not deliver express letters to post office boxes in the United States or Canada.

ALY. In October 2018, Defendant Evergrande initiated a second UDRP proceeding
against the Plaintiff.
120. Neither Plaintiff's agreement with Epik.com nor the ICANN UDRP rules

provide that a second proceeding, appeal, petition for reconsideration, etc. may be filed.

121. The filing of the second unauthorized UDRP action caused the domain name to
be locked a second time without notice to Plaintiff.

122. Plaintiff incurred more legal fees hiring an attorney to investigate the reasons the
domain was locked.

123. After Plaintiff's attorney objected, Defendant Evergrande was given an

opportunity to respond to the fact that it filed a second, unauthorized by contract

proceeding against Plaintiff.

124. Based on information, Defendant Evergrande did not respond to the forum's
notice to it and abandoned the second action leaving Plaintiff stuck with a legal bill and

a locked ‘domain.
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125. In December 2018, Defendant Evergrande filed a third UDRP case
notwithstanding that Plaintiff's contract with Epik and incorporation of ICANN rules
only providing for a single UDRP proceeding.

- 126. Defendant Evergrande provided false information to the UDRP panel that it did
not know that Plaintiff maintained other domain names (but see First Panel decision
discussing additional domain names).

127, Defendant Evergrande provided misleading information that Plaintiff provided a
false address in contravention of its agreement with Epik even though Plaintiff
maintained a valid post office box, but it simply does not accept deliveries from
couriers such as Federal Express.

128. Defendant Evergrande's misrepresentations and seriatim filings were made for
the purpose of inducing a misapplication of the dispute policy of Plaintiff and Epik's
domain registration contract, to cause breach thereof in that the UDRP was, after two
unsuccessful proceedings, misinterpreted and misapplied in the course of the UDRP
Proceeding thereby causing a breach of Plaintiff's domain registration contract.

129. Moreover, Defendant Evergrande's actions caused Epik to erroneously believe
that, even after Plaintiff prevailed on the only authorized UDRP proceeding, it needed
to lock the Plaintiff's registration of the domain and, absent the filing of this action,

transfer the domain name to Defendant Evergrande.

130. When registering the domain name, Plaintiff was forced to agree to a specific

registration agreement that incorporated by reference the UDRP as written.
131. Had Plaintiff sought the registration services of any other registrar, the
registration agreement may different but the UDRP would still be incorporated within

the registration agreement forming a part of the contract.
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132. The registration agreement, at least to the extent it incorporated by reference the
UDRP is a contract of adhesion.

133. The UDRP was created and written in 1999. The language of the UDRP has not
been modified materially.

134. The declared intention of the UDRP was to address those disputes involving a
narrow class of cases in which the domain registration clearly constituted
cybersquatting.

135. The UDRP was created according to the guidelines of the “THE
MANAGEMENT OF INTERNET NAMES AND ADDRESSES: INTELLECTUAL
PROPERTY ISSUES,” Final Report of the WIPO Internet Domain Name Process April
30, 1999, issued by the World Intellectual Property Organization (“WIPO Final
Report”).

136. The WIPO Final Report included the following caveat regarding the intent and
operation of the UDRP: (34). It is further recognized that the goal of this WIPO
Process is not to create new rights of intellectual property, nor to accord greater
protection to intellectual property in cyberspace than that which exists elsewhere.
Rather, the goal is to give proper and adequate expression to the existing, multilaterally
agreed standards of intellectual property protection in the context of the new,

multijurisdictional and vitally important medium of the Internet and the DNS that is

responsible for directing traffic on the Internet. The WIPO Process seeks to find
procedures that will avoid the unwitting diminution or frustration of agreed policies and
rules for intellectual property protection. (35). Conversely, it is not intended that the

means of according proper and adequate protection to agreed standards of intellectual
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property should result in a diminution in, or otherwise adversely affect, the enjoyment
of other agreed rights, such as the rights guaranteed in the Universal Declaration of
Human Rights.

137. Notwithstanding the original narrow intent of the UDRP, it has been the subject
of expansion undertaken as a result of continued panel decisions in which panelists
impose conflicting personal views of the UDRP.

138. To prevail in a UDRP involving a .com domain name, the complainant must
allege and provide that the “the domain name has been registered and is being used in
bad faith.”

139, UDRP Policy 4(c) provides that a UDRP will be overcome “if you are making a
legitimate non-commercial or fair use of the domain name, without intent for
commercial gain to misleadingly divert consumers or to tarnish the trademark or service
mark at issue.”

140. Improper application of the UDRP, and allowing complainants to file seriatim
proceedings not anticipated or expressly authorized by the domain registration
agreement or ICANN's UDRP provisions creates a continuing uncertainty as to
Plaintiff's contractual rights and obligations under the relevant registration agreement.

141. Allowing complainants to file proceedings every time they locate new evidence,

~ even evidence that is self-created or that was in existence at the time, when such
seriatim proceedings are not authorized by the UDRP, are not agreed upon in the
registration contract, all while disallowing a respondent from having any ability to
reopen a proceeding for new evidence, creates a situation where a domain registrant can
never count on having a fina! decision made in his favor.

142. Allowing complainants, but not respondents, to forum shop by using different
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offices, and thus different panelists, when filing second and third UDRP proceedings-- a
procedure 'not authorized by the registration contract, creates an uncertainty for domain
registrants.

143. Filing second and third complaints using different offices, as Defendant
Evergrande did, and thus guaranteeing a different panelist, creates an uncertainty to

~ domain registrants.

144. Improper use of and application of the UDRP to provide for remedies in factual
situations not provided for in the UDRP subjects Plaintiff, and indeed any domain name
registration, to a continual unilateral amendment to the provisions of the relevant
registration agreement by a party that is not a party to the registration agreement.

145. Contracts are to be interpreted according to the plain meaning of the terms
thereof. Absent legally recognized exceptions, contracts are to be interpreted using the
language contained therein.

146. Defendant Evergrande's representations, and filing seriatim complaints not
authorized by the contract with Epik, were done for the purpose of inducing a
misapplication of the terms of Plaintiff's registration contract, resulting in the breach of
the contract.

147. That is, despite Plaintiff never agreeing to be subject to seriatim complaints
under the UDRP, but only agreeing to be bound by a single proceeding, Epik stands
ready to transfer the domain name to Defendant Evergrande.

148. _ Defendant Evergrande knew the terms of the contract between Epik and Plaintiff
and knew the UDRP provided for only a proceeding.

149. Defendant Evergrande's actions intentionally induced Epik to repeatedly lock the

domain name in breach of the contract by filing seriatim proceedings not authorized
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under the UDRP.

150. Defendant Evergrande's actions intentionally induced Epik to agree to transfer
the domain name to Plaintiff based on the third, unauthorized by contract, UDRP
proceeding and decision.

151. Defendant Evergrande's purpose was improper and done through improper _
means.

152. The breach of contract by Epik caused damages to the Plaintiff including having
to pay money to retain legal counsel to investigate why the domain name was locked a
second time and to defend against the improperly filed second and third proceedings,
and having its domain name locked for a prolonged period of time, including the
present time.

153. The proximate cause of the damages to Plaintiff were from Defendant
Evergrande's tortious interference with contractual relations.

COUNT IV — Conversion

154. Paragraphs 1 through 153 are hereby incorporated by reference as if fully set

forth again.
155. Plaintiff, by registering the domain name <evergrandrealestate.com> for the

purpose of creating a discussion board about Defendant Evergrande's activities,
received a property right in the name.

156. By filing seriatim UDRP cases until it found a panelist that agreed with it,
Defendant Evergrande has impaired Plaintiff's possession and control of the domain
name.

157. Defendant Evergrande continues to willfully exert dominion over the domain

name.
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158. Absent a declaration from this Court, Defendant Evergrande will continue to
dominion over the domain name and wrest all rights in the domain name from Plaintiff
for Defendant Evergrande's use thereof.

WHEREFORE, Plaintiff Sergio Sanchez respectfully demands that this Court: (1) Declare that
Defendant Evergrande has no trademark rights that are subject to protection in the United States as to
<evergranderealestate.com>; (2) Declare pursuant to 15 USC 1114(2)(D)(iv)-(v) that Plaintiff is

entitled to registration, ownership, and use of the domain name <evergranderealestate.com>; (3)

_ declare that Plaintiff's registration and intended use of the domain name to create a discussion site is

lawful, fair use, and protected by the First Amendment to the United States Constitution and does not
infringe on any trade or servicemark right Defendant Evergrande may claim in the United States; (4)
Declare that Defendant Evergrande attempted to unlawfully interfere with Plaintiff's rights and
expectations under the domain registration agreement with Epik and has induced a breach thereof:
through the misapplication of the dispute resolution policy; (5) Declare that the domain name
registration agreement and the policies of the UDRP do not provide for an authorized contractual
remedy allowing a second or third proceeding after a complainant's first action is denied; (6) Declare
that the decision in the third UDRP action by Defendant Evergrande and against Plaintiff was made
without contractual authority or jurisdiction under the UDRP as there is no provision for re-filed
actions in the UDRP; (7) Declare that the decision in the third UDRP action by Defendant Evergrande
was made without contractual authority or jurisdiction under the UDRP where a petition was made to
the original panel to consolidate the cases and for the case to be placed before the original panel, but
the original panel was not provided with an opportunity to make the decision to consolidate under the
UDRP terms; (8) Declare that the use of the UDRP and the third UDRP decision was an improper
interpretation of the contractual rights of the Plaintiff under its registration agreement; (9) Declare that,

as a matter of contract, only a single UDRP proceeding may be filed against a domain holder; (10)
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Declare that the UDRP, incorporated into the contract, does not provide a procedure for either party to

seek reconsideration of a decision by filing a second or third proceeding, but that the sole remedy after
losing the initial UDRP case is to proceed to Court or another form of litigation; (11) Enjoin Defendant
Evergrande from taking further actions as to the domain name without leave of this Court; (12) Grant
judgment for damages as a proximate result of the actions of Defendant Evergrande; and (13) Award
costs, fees, interest, and any other relief that may be granted.

Respectfully submitted,

O,

Sergio/Sanchez “

c/o ABC Agents

PO Box 37635 Unit 10287
Philadelphia, PA 19101

s.sanchez@counsel.cr

PLAINTIFF

VERIFICATION
Plaintiff declares that the above is true and correct to the best of his knowledge and that the

averments are made under the penalty for perjury (28 USC 1446).

by (Masih,
SerZio Sanchez >

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